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 1                                            The Honorable Chief Judge David G. Estudillo

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 8                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 9                                  AT TACOMA
10
     PAUL D. ETIENNE, et al.,
11
                        Plaintiffs,
12
            v.
13
                                                 Case No. 3:25-cv-05461-DGE
14   ROBERT W. FERGUSON, et al.,
                                                 SUPPLEMENTAL DECLARATION OF
15                      Defendants.              MATTHEW T. MARTENS IN
                                                 SUPPORT OF PLAINTIFFS’ REPLY IN
16                                               FURTHER SUPPORT OF MOTION
                                                 FOR PRELIMINARY INJUNCTION
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     SUPPLEMENTAL DECLARATION OF                              CROWLEY LAW OFFICES, P.S.
28   M. MARTENS IN SUPPORT OF REPLY        -i-       600 University Street, Suite 1708 • Seattle, WA 98101
     No. 3:25-cv-05461-DGE                                              (206) 209-0456
                                                                www.crowleylawoffices.com
           Case 3:25-cv-05461-DGE           Document 208          Filed 07/11/25          Page 2 of 2




 1          I, Matthew T. Martens, hereby declare as follows:

 2          1.      I am a partner at Wilmer Cutler Pickering Hale and Dorr LLP and counsel to

 3   Plaintiffs in the above-captioned matter.

 4          2.      I am over the age of eighteen and competent to make this declaration. I make this

 5   declaration based on personal knowledge about which I am competent to testify.

 6          3.      Attached as Exhibit 15 is a true and correct copy of a May 9, 2024 press release by

 7   the Washington State Office of the Attorney General, Attorney General Ferguson Announces

 8   Investigation into Catholic Church’s Handling of Child Sex Abuse Allegations, available at

 9   https://www.atg.wa.gov/news/news-releases/attorney-general-ferguson-announces-investigation-

10   catholic-church-s-handling.

11          4.      Attached as Exhibit 16 is a true and correct copy of the State of Washington’s

12   Petition to Enforce Investigative Subpoena, signed by then-Attorney General Robert W. Ferguson

13   on May 9, 2024, and filed in King County Superior Court.

14                                               ⁎    ⁎       ⁎

15          I declare under penalty of perjury that the foregoing is true and correct.

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17          ____________________________

18          Matthew T. Martens

19          EXECUTED this 11th day of July, 2025, at Washington, D.C.

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